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                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

IN RE:             ,                )        CHAPTER 11
Taylor Investment Partners II, LLC  )
                                    )
Debtor.                             )        CASE NO. 15-51333 - MHM
                                    )        JUDGE MURPHY
_________________________________)___________________________________
                                    )
MOE’S FRANCHISOR, LLC               )
                                    )
             Movant,                )
                                    )
v.                                  )
                                    )
Taylor Investment Partner, II, LLC; )        CONTESTED MATTER
TIP II-Suburban, LLC; and           )
TIP II-Ansley, LLC,                 )
                                    )
             Respondents.           )



 RESPONSE OF DEBTORS TO MOTION BY MOE’S FRANCHISOR LLC FOR
   RELIEF FROM THE AUTOMATIC STAY TO EXERCISE ALL RIGHTS
    UNDER FRANCHISE AGREEMENTS, INCLUDING TERMINATION

    COME NOW, Taylor Investment Partners II, LLC (“Taylor Investment”), TIP II-

Ansley, LLC (“Ansley”), and TIP II-Suburban, LLC (“Suburban”) (collectively, the

“Debtors”), and file this response to Moe’s Franchisor LLC’s (“Moe’s”) Motion for

Relief from Stay (the “Motion for Relief”) (Doc. 44).

                                     Introduction
      Moe’s Motion for Relief should be denied for lack of “cause” for the following

reasons:

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        1.        Debtors did not file their cases in bad faith. These cases clearly lack the

aggravating factors of either the Piccadilly1 case or the Northwest Place, Ltd.2 case.

Taylor Investment has one large secured debt, an aggressive unsecured creditor with a

disputed debt, and two operating franchised restaurants with numerous employees. Moe’s

has engaged in a history of bad faith conduct, including, among other things, an

attempted use of improperly performed internal franchise inspections to unlawfully

terminate the franchise agreements only eight days after Debtors filed a law suit against

Moe’s and summarily denying Debtors’ contractual right for counseling and advice on

preparing for an unannounced franchise inspection.

        2.        Debtors may assume the franchise agreements under 11 U.S.C. 365. With

regard to this Court’s interpretation of 11 U.S.C. § 365(c) and the ability of a franchisee

to assume a franchise agreement without the franchisor’s consent, this Court may adopt

the “actual test”. Moe’s citation to City of Jamestown v. James Cable Partners, L.P. (In

re James Cable Partners, L.P.), 27 F.3d 534 (11th Cir. 1994) as binding authority that the

11th Circuit has adopted the “hypothetical test” is misplaced. The holding in James Cable

Partners, L.P. was based only on what constituted “applicable law” under Section 365(c).

Any discussion of the hypothetical test was mere dictum, and this Court is free to adopt

the actual test, which coincides with legislative history, the spirit of the bankruptcy code,


        1
            Phoenix Piccadilly, Ltd. V. Life Ins. Co. of Virginia (In re Phoenix Piccasilly, Ltd.), 849 F.2d
1393, 1394 (11th Cir. 1988).
        2
            In re Northwest Place, Ltd., 108 B.R. 814 (Bankr. N.D.Ga. 1988).

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and the recommendations of the two leading bankruptcy treatises - Collier on Bankruptcy

(3 Collier on Bankruptcy, ¶ 365.06[1][d] at 365-67-72 (15th ed. rev. 2006)) and Norton

Bankruptcy Law and Practice 2d (Norton Bankr. Law & Practice 2d, § 39:20 at 39-70

(2006)).

                                      Background
       TIP II-Ansley and TIP II-Suburban operate two Moe’s Southwest Grill restaurants

located at 1544 Piedmont Avenue, N.E., Suite 303, Atlanta, Georgia 30324 (the “Ansley

Moe’s”) and 1524 Church St., Suite A, Decatur, Georgia 30030 (the “Decatur Moe’s”),

respectively.

       On May 15, 2003, Taylor Investment entered into the Assignment, Assumption

and Consent Agreement (the “Ansley Assignment” attached hereto as Exhibit “A”) by

which Taylor Investment, with the required consent of Moe’s, acquired the rights from a

previous franchisee to operate the Ansley Moe’s subject to the Moe’s Southwest Grill,

L.L.C. Franchise Agreement dated September 6, 2002 entered into between Moe’s

predecessor and the predecessor franchisee and as attached hereto as Exhibit “B.”

       Pursuant to that Moe’s Southwest Grill, L.L.C Franchise Agreement dated March

5, 2004 (the “Decatur Franchise Agreement”) entered into between Moe’s predecessor

and Taylor Investment, Taylor Investment’s affiliate, TIP II-Suburban, LLC, began to

operate the Decatur Moe’s. A true and correct copy of the Decatur Franchise Agreement

is attached hereto as Exhibit “C”.



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                History of Problems Between Taylor Investment and Moe’s
       Moe’s and Debtors have had a tumultuous relationship. In 2004, Moe’s required

Taylor Investment to decorate its restaurants with artwork of famous, deceased

musicians, e.g., Frank Sinatra, Elvis, Jimmy Hendrix, etc., containing lyrics tied in with

Moe’s tag lines. Apparently, Moe’s did not have legal authority to use these images or

lyrics. As a result, on or about December 8, 2004, several Moe’s franchisees, as well as

TIP II-Ansley, LLC, were sued in the U.S. District court for the Northern District of

Georgia in an action styled as Jerry Garcia Estate, LLC v. Moe’s Southwest Grill, LLC,

et al., No. 1:04-CV-03591-TCB.

       Upon information and belief, the matter was settled pursuant to a consent order

that included an injunction prohibiting the unauthorized display of these images and

lyrics. Subsequently, Moe’s ran a promotion where patrons submitted photos of

themselves impersonating famous, deceased musician for display at Moe’s restaurants.

Taylor Investment refused to participate for fear of violating the aforementioned

injunction.

       On or around August 2007, when Focus Brands acquired the Moe’s franchise,

Steve Romanello, Focus’s CEO, and Paul Damico, the President of Moe’s Southwest,

met with Mr. David Titshaw and proposed that Taylor Investment voluntarily exit the

Moe’s franchise system. Taylor Investment declined.

       Ansley and Suburban have been in business for well over ten years and operate

under “legacy” franchise agreements with Moe’s. Those “legacy” franchise agreements

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include terms that are in many ways substantially more favorable to the franchisees than

exist in the more recent and current franchise agreements utilized by Moe’s. As a result,

Moe’s would like nothing more than to terminate Debtors’ agreements and install new

franchisees who will be bound by the far more favorable terms of the new franchise

agreements.

      In or around 2010, during a meeting of the Atlanta Coop Advertising Board,

Damico publicly criticized Taylor Investment for offering a certain promotion on more

favorable terms than those required by Moe’s. Taylor Investment’s position was that the

Franchise Agreements allowed it to do so. In response, Damico told Mr. Titshaw that he

“did not intend to govern [“their”] relationship by the terms of the Franchise Agreement.

                      The Improperly Conducted ROSE Reports

      Moe’s uses an internal auditing and inspection mechanism known as the

Restaurant Operations and Standards Evaluation (“ROSE”) report to ensure certain

“Sanitary and Quality Assurance” standards pursuant to the “Moe’s Southwest Grill

Operations Manual” (“Operations Manual”). Each Moe’s restaurant is inspected

unannounced using the ROSE report at least twice per year.

      Upon information and belief, after August 2007, when Focus Brands acquired the

Moe’s franchise, Moe’s and Coca-Cola entered into a contract containing language

allowing Coca-Cola to pay rebates to Moe’s based on franchisee purchases. As a result,

on or about June 5, 2012, Taylor Investment filed a Complaint in the Magistrate Court of



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Fulton County, Georgia styled as Taylor Investment Partners II, LLC, et al. v. Focus

Brands, Inc., et al., No. 12MS149263 requesting a declaratory judgment and asserting

claims for breach of contract and conspiring to violate anti-trust laws (the “Coca-Cola

Litigation”). Eight days later, Moe’s conducted ROSE inspections at each of Debtors’

restaurants, and, for the first time after a decade of operation, gave both restaurants

failing scores.

       Not surprisingly, Moe’s acted swiftly to give Debtors failing scores on two follow-

up ROSE inspections so that they could exercise their right of termination under the

franchise agreement to force Debtors out of the franchise. Notably, the 3rd ROSE

inspection that Suburban failed was taken less than 24 hours after Suburban was given

the second highest possible score by Steritech, an independent, third- party franchise

inspector that focuses on health, cleanliness, and workplace safety.

       After Moe’s attempted to terminate the franchise agreements based on these

arbitrarily and capriciously performed inspections, Debtors’ counsel requested a meeting

to extend the termination deadline to show that the termination was not proper or

justified. This meeting proved unproductive because Moe’s presented an “offer” to

Debtors to force the sale of both franchises in a short period of time, further exposing

Moe’s true motives. The parties ultimately took the matter of whether the ROSE reports

were performed fairly and properly before an arbitrator.




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       Moe’s asserts that Debtors failed three (3) improperly performed ROSE reports

that led to the parties arbitrating whether these inspections were done fairly and

impartially. Despite the false allegations by Moe’s that the restaurants were unclean and

in disrepair (Moe’s MFR, ¶30), the arbitrator specifically found that “the deficiencies

found by Moe’s evaluators were not basically food safety or related hygiene issues.” (Ex.

D, p. 3, Arbitrator’s Award).

       The arbitrator ultimately found that Moe’s could not meet its burden of showing

that all the ROSE inspections were properly and fairly administered. As part of the

Award providing that Moe’s did not properly conduct the ROSE reports instigated after

the Magistrate Court Litigation, the arbitrator held that each location was to receive an

additional ROSE inspection [See Arbitrator’s Award, p. 5].

       On or about July 25, 2014, Moe’s conducted the post-arbitration ROSE inspection

(the “July ROSE Report”, attached hereto as Exhibit “E”). Of course, the July ROSE

Report was performed improperly and unfairly, and it is no coincidence that Debtors’

more profitable store, the Decatur location, failed the ROSE report as administered with a

score of 72% (a score of 80% is required to pass).

       Pursuant to Paragraph 9 of the Franchise Agreements and Item 11 of the 2003

Uniform Franchise Offering Circular (“UFOC,” attached hereto as Exhibit “F”)3, Moe’s



       3
           The 2003 UFOC provides: After the franchised restaurant is opened for business, we will do the
following pursuant to the terms of the Franchise Agreement:

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is obligated to provide consultation and advice regarding “(g) operational problems and

procedures; and (h) periodic inspections . . . .” According to two Moe’s employees under

sworn testimony, this obligation is exercised by the franchisee requesting a voluntary

ROSE inspection to ensure compliance with the unannounced ROSE inspection. (Ex. G.,

Shotter Dep. 83:8-19), (Ex. H, Slaton Dep. 30:21-23). Indeed, each ROSE Report

indicates whether an inspection was “Announced” or not. (Ex. E, p. 2).

        Shortly after the arbitrator issued his award ordering Moe’s to conduct one more

unannounced ROSE inspections at each restaurant, Mr. Titshaw requested an announced,

voluntary ROSE inspection at each location. Moe’s summarily and improperly denied

Mr. Titshaw’s request for a voluntary inspection in clear violation of the UFOC and

Franchise Agreements.

       Moe’s has a history of using internal audits and ROSE reports to “lean on” and

intimidate franchisees. See internal Moe’s email of Focus Brands’ predecessor attached

hereto as Exhibit “I”.

       Notably, there is no evidence that Moe’s has been financially harmed. There is no

evidence that Debtors have failed any health department inspections; Moe’s has not




       3. Upon your request, furnish counseling and advisory services to you on subjects including
equipment selection and layout, employee selection and training, advertising and promotion, recipes,
food, formulas and specifications, bookkeeping and accounting, purchasing and inventory control,
operational problems and procedures, periodic inspections and new developments and improvements
in the MOE’S System (Franchise Agreement – Paragraph 9). (emphasis added).

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alleged that Debtor has misused any of its proprietary marks; and one of Debtors’

managers recently completed his Focus manager’s training certification.

       Moreover, Debtors’ stores ranked 6th out of 17 stores in its region on a Regional

Performance Report involving secret shoppers visiting each franchise location and

ranking food quality, speed of service, employee appearance, and overall experience.

Debtors scored a 94.94 out of 100 on the Regional Performance Report, so clearly the

customers are happy with the Moe’s experience at Debtors’ franchises. A true and correct

copy of the Regional Performance Report results is attached hereto as Exhibit “J”.

       Debtors, in the aggregate, have approximately $79,643.96 of unsecured debt and

$73,813.88 of secured debt. Moe’s is not a creditor of Debtors. Debtors owe Moe’s no

back-franchise fees. A representative from Chamberlain Hrdlicka, a law firm holding a

disputed debt of over $25,000.00, asked the majority of questions at Debtors’ 341

meeting.

    Cause Does Not Exist to Grant Relief from the Stay Pursuant to 11 U.S.C. §
                               362(d)(1) or (d)(2)

       Pursuant to Section 362(d) of the Bankruptcy Code, the automatic stay may be

terminated or modified for either (i) cause or (ii) with respect to property in which a

debtor has no equity and is not required for an effective organization. 11 U.S.C. § 362(d).

       “Cause” is not defined in the Bankruptcy Code, and as a result, “courts decide

‘whether [such] discretionary relief is appropriate on a case-by-case basis.’” State Bank

of Florence v. Miller (In re Miller), 513 F. App’x 566, 575 (6th Cir. 2013) (citing Laguna


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Assoc. Ltd. P’ship v. Aetna Cas. & Sur. Co. (In re Laguna Assoc. Ltd. P’ship), 30 F.3d

734, 737 (6th Cir. 1994)); In re Robertson, 244 B.R. 880, 882 (Bank. N.D. Ga. 2000).

       The moving party has the burden to make an initial showing of “cause” for relief

from the stay. See 11 U.S.C. § 362(d)(1); In re Sonnax Indus., Inc., 907 F.2d 1280, 1285

(2d Cir. 1990); Laguna Assocs. Ltd. P’ship v. Aetna Life and Cas. Surety Co. (In re

Laguna Assocs. Ltd. P’ship), No. 92-75390, 1993 WL 730746, at *5 (E.D. Mich. Apr. 12,

1993), aff’d 30 F.3d 734 (6th Cir. 1994) (collecting cases).

       Once cause is established, the burden shifts to debtor to prove that it is entitled to

the protections of the stay. See 11 U.S.C. § 362(g)(2); Laguna Assocs., 1993 WL 730746,

at *5; In re Holly’s, Inc., 140 B.R. 643, 683 (Bankr. W.D. Mich. 1992) (quoting Sonnax

Indus., 907 F.2d at 1281).

       Moe’s has failed to carry its burden that cause exists to terminate the stay. Moe’s

two primary arguments in support of its motion are: (1) that the instant case was filed in

bad faith, and (2) that 365(c) prevents debtor from assuming the franchise agreements

without Moe’s consent. As Debtors will show, Debtors did not file their cases in bad

faith, and a proper interpretation of 365(c) will allow Taylor Investment to assume the

franchise agreements.

       A.   Debtors Did Not File Bankruptcy in Bad Faith.

       The seminal case on bad faith in the 11th Circuit is Phoenix Piccadilly, Ltd. V. Life

Ins. Co. of Virginia (In re Phoenix Piccasilly, Ltd.), 849 F.2d 1393, 1394 (11th Cir. 1988).



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“[T]here is no particular test for determining whether a debtor has filed a petition in bad

faith. Instead, the courts may consider any factors which evidence ‘an intent to abuse the

judicial process and the purposes of the reorganization provisions’ or, in particular,

factors which evidence that the petition was filed ‘to delay or frustrate the legitimate

efforts of secured creditors to enforce their rights.’" Id. (quoting Albany Partners, Ltd. V.

Westbrook (In re Albany Partners, Ltd.), 749 F.2d 670, 674 (11th Cir. 1984)). “The

factors cited by both the Eleventh Circuit and other courts are guidelines for the exercise

of the Court's sound discretion. Bad faith in the filing of a bankruptcy petition is a finding

of fact not subject to any per se approach.” In re Clinton Fields, Inc., 168 B.R. 265, 269

(Bankr. M.D.Ga. 1994).

       In Piccadilly, the 11th Circuit affirmed the bankruptcy court’s findings of bad faith

in the context of a single asset real estate debtor filing bankruptcy the day before a

receiver was to be appointed with regards to debtor’s real property. Id. at 1394.

Moreover, debtor in Piccadilly was also found to engage in forum shopping by filing its

bankruptcy case over 700 miles away its assets, secured and unsecured creditors, and

employees. Id. at 1395. As Moe’s cites, a finding of bad faith is “based on a

conglomerate of factors rather than on any single datum.” In re Northwest Place, Ltd.,

108 B.R. 814 (Bankr. N.D.Ga. 1988).

       This case lacks the aggravating factors that were present in Piccadilly. In this case,

Debtors have over two dozen part-time and full-time employees, numerous assets



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throughout both restaurants, one large secured creditor, and numerous unsecured

creditors, including a disputed legal bill that unsecured creditor Chamberlain Hrdlicka

alleges is over $75,000.00. Debtors purpose in filing bankruptcy was to stop any potential

collection action by law firm Ichter Thomas and Chamberlain Hrdlicka, as well as to stop

the bad faith termination of the franchise agreement by Moe’s.

         Furthermore, it is hypocritical of Moe’s to use bad-faith tactics in an attempt to

unlawfully terminate the franchise agreement of Debtors while arguing that Debtors filed

the instant cases in bad faith. All creditors’ state court rights are going to be frustrated to

a degree by the filing of a bankruptcy petition, but notably in this case, Moe’s is not owed

any back franchise fees (and is thus not a creditor in this case), and it’s only basis for

terminating Debtors’ most profitable store is an inappropriately performed ROSE

inspection in a bad faith attempt to force Debtors to sell both locations.

              B.    The Franchise Agreement May Be Assumed Without Moe’s Consent
                            The “Hypothetical Test” vs. the “Actual Test”

         Under 11 U.S.C. §365(a), a debtor-in-possession has the authority, subject to

§365(c), to assume or reject an executory contract such as a franchise agreement.4 The


         4
             Bankruptcy Code Section 365(c) provides: “The trustee may not assume or assign any executory contract
or unexpired lease of the debtor, whether or not such contract or lease prohibits or restricts assignment of rights or
delegation of duties if –
         (1)(A) applicable law excuses a party, other than the debtor, to such contract or lease from accepting
performance from or rendering performance to an entity other than the debtor or the debtor in possession, whether or
not such contract or lease prohibits or restricts assignment of rights or delegation of duties; and
         (B) such party does not consent to such assumption or assignment . . .”

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confusion sets in when courts begin to interpret Section 365(c)(1)’s “assume or assign”

language. Courts reading the statute in the disjunctive follow the so-called “hypothetical

test,” while courts reading the statute in the conjunctive (i.e. “assume and assign”) follow

the “actual test.” See In re Sunterra Corp., 361 F. 3d 257 (4th Cir. 2004) (describing the

conjunctive vs. disjunctive argument).

        The hypothetical test is best described in In re West Electronics, holding that “11

U.S.C. § 365(c)(1) creates a hypothetical test – i.e., under applicable law, could the

government refuse performance from an entity other than the debtor or the DIP?” 852

F.2d 79, 83 (3d. Cir. 1988). The Ninth Circuit simply states that § 365(c)(1)(B)’s

language means that “a [DIP] may assume or assign an executory contract only if

hypothetically it [may] assign that contract to a third party.” N.C.P. Mktg. Group, Inc. v.

BG Star Prods., 129 S.Ct. 1577 (2009) (citing In re Catapult Entertainment, Inc., 165

F.3d, 747 (9th Cir. 1999). So if the DIP, hypothetically, could not assume and assign the

trademark license of a franchisee, then it does not have the right to assume the license

even if it has no actual intention of assigning the license to a third-party.

        The First Circuit5 and “the great majority of lower courts” reject the hypothetical

test in favor of the actual test. See In re Footstar, Inc., 323 B.R. 566, 599 n. 2 (Bankr.

S.D.N.Y. 2005). Courts adhering to the actual test interpret Section 365(c)(1)(B) in the

conjunctive. In Institut v. Cambridge, the First Circuit held that Section 365 contemplates

        5
            Institut Pasteur v. Cambridge Biotech Corp., 104 F.3d 489 (1st Cir. 1997); Summit Inv. and
Development Corp. v. Leroux, 69 F. 3d 608 (1st Cir. 1995).

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a case-by-case inquiry into whether the licensee actually was being forced to accept

performance from someone other than debtor/licensee. 104 F.3d at 493. In other words,

under the actual test and in the context of a franchise agreement, if debtor/franchisee has

no intention of actually assigning the franchise agreement to a third party, it may assume

the franchise agreement. See Footstar, 323 B.R. at 570. So courts that follow the

reasoning of the First Circuit look to what the franchisee actually plans to do with the

license rather than what the licensee hypothetically could do. Id. This interpretation

clearly allows debtor to maximize the value of the franchise agreement and avoid the

unearned windfall received by the franchisor under the hypothetical test.

               This Court May Adopt Either the Actual or Hypothetical Test

       Moe’s cites the 11th Circuit case of In re James Cable Partners, L.P. as binding

authority that a franchisee cannot assume a franchise agreement without the franchisor’s

consent in the 11th Circuit. 27 F.3d 534 (11th Cir. 1994). There is a split of opinion as to

whether the 11th Circuit has truly adopted the “hypothetical test” when interpreting 11

U.S.C. §365(c)(1). See In re Sunterra Corp., 361 F. 3d 257 (4th Cir. 2004); but see In re

Footstar, Inc., 323 B.R. 566, 570 at n.3 (Bankr. S.D. N.Y. 2005); Charles H. Jeanfreau,

Intellectual Property Issues in Bankruptcy, 1 Bloomberg Corp. L.J. 371, note 5 at n. 48

(noting that the court in In re James Cable Partners, L.P. articulated the hypothetical test




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but appears to have applied the actual test); Robert L. Eisenbach, III, The Section

365(c)(1)(A) Debate: “Actual” or “Hypothetical”? A Circuit-by-Circuit Look6.

       It is clear that the 11th Circuit in In re James Cable only discussed the hypothetical

test in dicta. 27 F.3d at 537. Statements in an opinion that are “not necessary to the

decision of an appeal given the facts and circumstances of the case” are dicta. Aron v.

United States, 291 F.3d 708, 716 (11th Cir. 2002). And “dicta is not binding on anyone

for any purpose.” Edwards v. Prime, Inc., 602 F.3d 1276, 1298 (11th Cir. 2010).

           Indeed, the 11th Circuit acknowledged that the bankruptcy and district court

opinions that it affirmed specifically rejected the hypothetical test. Id. at 537, n. 6; see

also In re James Cable Partners, L.P., 154 B.R. 813, 815 (M.D. Ga. 1993) The court in

In re James Cable did not reach the issue of whether or not the actual or hypothetical test

should be used because the court found that no “applicable law” excused the city from

accepting performance from an entity other than debtor. See id. at 538. In other words,

there was no trademark law to act as “applicable law” to block the assignment of the

franchise agreement, so the 11th Circuit affirmed the holding of the lower courts based on

Section 365(c)(1)(A) without having to analyze Section 365(c)(1)(B). Id.

       Notably, the 11th Circuit in James Cable stated in a footnote that 11 U.S.C. §

365(c)(1) is written in the conjunctive. 27 F.3d at 537, n. 5. As discussed supra, courts

that interpret Section 365(c)(1) in the conjunctive have actually adopted the actual test, so


       6
           http://inthered.wp.lexblogs.com/wp-content/uploads/sites/245/2007/04/Section_365_c__1__Chart1.pdf


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this footnote contradicts the use of the hypothetical test. See In re Sunterra Corp., 361

F.3d at 257. Regardless, it is clear that the 11th Circuit’s usage of the hypothetical test in

James Cable was strictly in dicta and is not binding on this court. As a result, this court is

free to adopt the actual test.

       The Court Should Adopt the Actual Test and Allow Debtor to Assume the

Franchise Agreement.

       Congress intended Section 365(c)(1) “to be applied narrowly.” In re C.W. Mining

Co., 422 B.R. 746, 761 (BAP 10th Cir. 2010). Accordingly, numerous courts have

rejected the “hypothetical test” approach in favor of an “actual test” to determine whether

applicable law excuses a non-debtor party to the executory contract from performance.

See, In re Mirant Corporation, 440 F.3d 238 (5th Cir. 2006); Summit Inv. & Dev. Corp.

v. Leroux, 69 F.3d 608, 613 (1st Cir.1995); Cajun Elec. Members Comm. v. Mabey (In re

Cajun Elec. Power Co-op., Inc.), 230 B.R. 693, 705 (Bankr. M.D. La.1999); In re Lil'

Things, Inc., 220 B.R. 583, 587 (Bankr. N.D. Tex.1998); In re Hartec Enters., Inc., 117

B.R. 865, 871 (Bankr. W.D.Tex. 1990); and In re Footstar, Inc., 323 B.R. 566 (Bankr.

S.D.N.Y. 2005).

       Likewise, both Collier (3 Collier on Bankruptcy, ¶ 365.06[1][d] at 365-67-72

(15th ed. rev. 2006)) and Norton Bankruptcy Law and Practice 2d (Norton Bankr. Law &

Practice 2d, § 39:20 at 39-70 (2006)) recognize that the legislative history supports the

actual test. See also Footstar, 323 B.R. at 574-575. Collier notes that:



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      “Although a literal reading of the amended version may bar assumption by a
      debtor in possession, there seems to be little reason for the amendment unless
      there was an intention to permit a debtor in possession to assume otherwise
      nonassignable contracts. Similarly, for the purposes of determining whether a
      debtor in possession may assume contracts that would not be assignable under
      nonbankruptcy law, the debtor in possession may be treated as the same entity as
      the debtor, entitled to assume the contract. Only if the debtor in possession sought
      to assign the contract would the nonbankruptcy limits apply. Collier, 365.06[1][d]
      at 365-67-72.

      As originally enacted in 1978, Section 365(c)(1)(a) provided as follows:

      (1) (A) applicable law excuses a party, other than the debtor, to such contract or
      lease from accepting performance from or rendering performance to the trustee or
      an assignee of such contract or lease, whether or not such contract or lease
      prohibits or restricts assignment of rights or delegation of duties. (emphasis
      added). Pub.L. No. 95-598 (1978)

      The 1984 amendment changed the emphasized language of Section 365(1)(A)

from “to the trustee or assignee of such contract or lease” to “an entity other than the

debtor or the debtor in possession.” The Committee on the Judiciary published a report in

conjunction with the 1980 proposed bill, the language of which the 1984 amendment

adopted, explaining:

      This amendment makes it clear that the prohibition against a trustee's power to
      assume an executory contract does not apply where it is the debtor that is in
      possession and the performance to be given or received under a personal service
      contract will be the same as if no petition had been filed because of the personal
      nature of the contract. H.R. REP. NO. 1195, 96th Cong., 2d Sess., §27(b) (1980).

      As mentioned supra, Courts that follow the actual test look to what the

licensee/franchisee actually plans to do with the license rather than what the licensee

could hypothetically do under the circumstances in the future. See Institut Pasteur, 104



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F.3d at 493. Courts that reject that hypothetical test have recognized that blocking the

assumption of an executory contract because such agreements cannot be assigned would

allow franchisors and licensors an unearned windfall at the expense of not only debtor,

but its creditors and bankruptcy estate as well. See generally Id.; In re Cumberland

Corral, LLC, Case No. 313-06325 (Bankr. M.D. TN 2014). Indeed, the 5th Circuit has not

adopted the hypothetical test because “[t]his approach takes the somewhat nonsensical

path that would prevent the assumption of an executory contract if applicable law would

preclude the assignment of that contract, even when no assignment was intended or

contemplated.” In re Jacobsen, 465 B.R. 102, 105 (Bankr. N.D. Miss. 2011). As the court

in Texaco, Inc. v. La. Land & Exploration Co. eloquently stated:

      “The [hypothetical test] tends to defeat the basic bankruptcy purpose of

      enhancement of the bankruptcy estate for benefit of rehabilitation and the

      general creditors upon a highly technical "hypothetical" test which furthers

      no bankruptcy purpose at all.” 136 B.R. 658, 669 (Bankr. M.D. La. 1992)

      (concluding the Third Circuit’s West hypothetical test is incorrect for three

      primary reasons).

      The hypothetical test also violates a basic rule of statutory construction that a court

should give effect to every word in a statute. See Bailey v. United States, 516 U.S. 137,

146 (1995). If the directive of Section 365(c)(1) is to prohibit assumption whenever

applicable law excuses performance relative to any entity other than the debtor, there



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would be no point in adding the words "or debtor in possession?" 11 U.S.C. § 365(c)(1).

The hypothetical renders this phrase surplusage.

      Because the hypothetical frustrates the purpose of the bankruptcy code and

essentially permits a non-debtor, non-creditor party to terminate its contract with debtor

via an ipso facto clause in derogation of Section 365(e) of the Bankruptcy Code, this

Court should adopt the actual test and find that Debtor can assume the franchise

agreement without Moe’s consent.

      Failing a ROSE Report is an Immaterial Default That Does Not Preclude

Debtor from Assuming the Franchise Agreements.

      Even if the Court were to decide that the July ROSE Report was properly

conducted and it was grounds for termination pursuant to the franchise agreement, it

would not preclude Taylor Investment from assuming the franchise agreement. "Where

the default is non-monetary and is not curable, debtor is precluded from assuming an

executory contract only if the default was material or if the default caused `substantial

economic detriment.'" In re Cumberland Corral, LLC, Case No. 313-06325 (Bankr. M.D.

TN 2014) (quoting In re Chapin Revenue Cycle Mgmt., LLC, 343 B.R. 728, 731 (Bankr.

M.D. Fla. 2006) (citations omitted); In re Clearwater Natural Res., LP, No. 09-70011,

2009 WL 2208463, at *4 (Bankr. E.D. Ky. July 23, 2009) (materiality and economic

significance of default is measure of whether debtor may assume a contract in which a

non-curable, non-monetary default has occurred).



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      In Cumberland Corral, Debtor owned a Golden Corral franchise in which the

franchisor alleged that two of Debtor’s locations failed three of the equivalent of Moe’s

ROSE reports, known as CSQ, or Cleanliness, Service, and Quality reports in the Golden

Corral franchise universe. Cumberland at p. 7. Similar to ROSE reports, CSQ reports

consist of four components: hospitality, food quality, food safety, and cleanliness. Id.

Though the evidence uncovered that Debtor had only failed two out of the three requisite

CSQ reports, the Court found that

      “even if there were defaults under the Franchise Agreements for the [Golden
      Corral] Restaurant[s], such defaults were immaterial and have not caused
      substantial economic detriment.” Id. at 27.

      Here, as in Cumberland, there are no allegations related to health and safety

violations; Debtor has passed all health-department inspections with a grade of greater

than 90; and Moe’s has suffered no monetary damage as a result of the alleged failed

ROSE report.

      For the foregoing reasons, cause does not exist to lift or modify the automatic stay

and permit Moe’s to exercise its right to terminate the franchise agreements.



    This 19th day of March, 2015


      Respectfully submitted by:
      Law Office of Will B. Geer, LLC
      Counsel for Debtors


      /s/ Will B. Geer

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